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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
1800 Avenue of the Stars, 12th Floor, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled (specify):
   DECLARATION OF CAROLLYNN H.G. CALLARI
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b)
in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
11/10/2021 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Destiny N Almogue destiny.almogue@skadden.com,
        dlmlclac@skadden.com;wendy.lamanna@skadden.com
       Eryk R Escobar eryk.r.escobar@usdoj.gov, Hatty.yip@usdoj.gov
       David B Golubchik dbg@lnbyb.com, stephanie@lnbyb.com
       Nicholas O Kennedy nicholas.kennedy@bakermckenzie.com,
        karen.wagner@bakermckenzie.com;Nathaniel.Wilkes@bakermckenzie.com;Carmen.Ayala
        @bakermckenzie.com;Nada.Hitti@bakermckenzie.com
       Hamid R Rafatjoo hrafatjoo@raineslaw.com, bclark@raineslaw.com
       Thomas Tysowsky thomas.tysowsky@bakermckenzie.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
                                                                           Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 11/10/2021 who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.

The Honorable Sheri Bluebond
United States Bankruptcy Judge
255 E. Temple Street, Suite 1534
Los Angeles, CA 90012
                                                                           Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 11/10/2021                               Bambi Clark                                           /s/ Bambi Clark
 Date                           Printed Name                                                    Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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